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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA, et al.,         )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO, et al.,                )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                                            ORDER

       As discussed at the Status Conference held on March 10, 2025, the court orders the

following with regard to further proceedings in this matter:

       Plaintiffs shall supplement their responses to Interrogatories 5, 11, 12, and 15 by

March 10, 2025.

       Google may serve up to 10 written interrogatories addressing any new or modified

provisions in Plaintiffs’ Revised Proposed Final Judgment, ECF No. 1184, by March 12, 2025.

Plaintiffs shall serve their answers and objections by March 19, 2025.

       Anthropic shall file a Status Report regarding its pending Motion for Leave to Participate

as Amicus Curiae, ECF No. 1165, by March 14, 2025.
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       The parties shall jointly submit proposals on the following topics by March 24, 2025:

(1) the number of exhibits permitted at the Evidentiary Hearing, including any exceptions to that

limitation; (2) the use of confidential information at the Evidentiary Hearing; (3) the structure and

format of post-trial submissions, including any responsive filings; and (4) the deadline to file

amicus affidavit(s).

       Amicus brief(s) shall be due by May 9, 2025.




Dated: March 11, 2025                                        Amit P. Mehta
                                                       United States District Judge




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